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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
                                                  § CASE NUMBER 1:17-CR-00020-2-RC
 v.                                               §
                                                  §
                                                  §
 CARLOS IVAN CALDERON-ROSADO                      §
                                                  §

          ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Zack Hawthorn conducted a hearing in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on

 Guilty Plea Before the United States Magistrate Judge. The magistrate judge recommended that

 the court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

 Defendant guilty on Count One of the Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS

 that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

 Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

 agreement until after review of the presentence report. The court ORDERS the Defendant’s

 attorney to read and discuss the presentence report with the Defendant, and file any objections to

 the report BEFORE the date of the sentencing hearing.
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        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Carlos Ivan Calderon-Rosado,

 is adjudged guilty as to Count One of the Indictment charging a violation of 21 U.S.C. § 846 -

 Conspiracy to Possess with Intent to Manufacture and Distribute (Heroin).



      So ORDERED and SIGNED this 19th day of May, 2017.
